Case 1:15-cV-01393-RDI\/| Document 1-1 Filed 08/27/15 Page 1 of 7

EXHIBIT A

 

Case 1:15-cV-01393-RDI\/| Document 1-1 Filed 08/27/15 Page 2 of 7

 

CT COFpOi‘&iZ§OH Service of Process
Transmittal

cano/2015

cr Log Number 527620676

To: Kathy Gibson
HCA Inc.
1 Park Plz Bldg 1
Nashville, TN 37203¢6527

RE: Fro¢:ess Served In Dlstrict of Columhla

Fol\: Medicredit, |nc. (Domestic Stlte:MO}

ENCI.OSED ARE I}°PlES CF LEGA|. FRDCES$ IIECEIVED BY Tl'lE S'TATUTDRY AGENT OF 'l'HE ABWE cDMFANY AS FDL|.BWB:

'rs'rl.l: oF Ac'rmn= Andrew Young, Piti. vs. Medicredit, inc., th.
MGUMENTCS)BERVED= Statement, |nstructions, Letter, information Sheet
couk'r:AoEncY= Superier Court of the District of Columbia, DC

Case # 2015$€3208
N»\Tune oF Ac'rlon= Letter is hereby served to verified the listed accounts

ON \NHOM FHOGES$ WAS $ERVEW C T Corporation System, Washington, DC

mrs rum noun ol= sEnvlcE= By Certified Mail on 08/10/2015 postmarked on 08/06/2015
Junleolcrlnu seminole District of Columbia
nrmm\uc: on ANswEn nuz= 08/28/2015 at 9:00 a.m.
Arronusv(s} 1 seno¢-:n(s)= Andrew Yeung
80 Q St. SW
Washin ton, DC 20024
202-50 -3545
Ac'rmu :'rEMs= CT has retained the current log, Retain Date: 08/11/2015, Expected Purge Date:
08/21/2015
image SOP

EmailNotification, Kathy Gibson kathy.gibson@hcahealthcare.com
EmailNotification, Abby Legge abby.legge@hcahealthcare.com

Email Notification, Paula Childers-Auerbach
paula.childers-auerbach@hcahealthcare.com

slouen= C T Cogporation System
Anumass= 1015 1 th Street, N.W.
Suite 1000
Washin ton, DC 20005
~rEl.ErnoNE= 202-57 -3133

Page‘i of 1 l SG

|nfen'nation displayed on this transmittal is for CT
Corpomtinn's record keeping purposes onty and is provided to
the recipient for quick rc-!i'eriencev This information does net
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any fnfonnatlon
contained fn the documents themselves Reciptent ls
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package oniy, not contents.

 

 

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v_vAsHlNGToN, n.c. 20001 l ' ` ""*=» §§ §g°°‘ $ 006 735
. l .- .:‘ '-:-‘:"-. ‘ ,¢' l - '
OFFlC|AL BUS|NESS ' "" -'-':" .000140?431 AUG. 06. 2015. 7
PENALTY FOR MiSUSE . ‘ _

?515 nunn nder nunn h?ne __

MEDICREDIT

clo CT Corporation

1015 15th Sireet,NW
WASHI.\`()TON,DC 20005 .
2015 SC2 003203 August 28, 2015

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Case 1:1:5-cV-01393-RDI\/| Document 1-1 Filed 08/27/15 Page 4 017

r`\',

_ fly
Superior Court of the District of Columbia '

small claims mm 11 ~ . CIVIL DIVISIGN omni
= SMALL`CLAIMS AND CONCILIATION BRANCH
- oidg. 11, 510 411. street N.w., RM -120
35 WASHINGTON, D.C. 20001 TELEPHONE 879-1120

  

 

 

 

 

 

 

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‘ ` P ainrl:,g`(s) -» , l s,
C'SO G %“( SLC> _l. vs. (2) __
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Address J Zi`p Cade
Phone No_ '2~01- H*OC[-' 'b§ \_[5 NO SC &(¢>i T(:;QLDZ;P zip-9 Supaf:ft:rrk
1| |h 01
l STATEMENT 0F crown3 =_§311§{§'§'3,“,,

 

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DlsTRtCT 01= CoLuMBlA. ss': pinch it,.`i gov "\\*\< being first duly sworn on oath says
the forcgoing' 1s a just and t_rue statement of the amount owing by the defendant to plaintiff exclusive of ali set offs and just grounds of
defene
’ '.' t . . .
§,Lf;/~q r.t-..tdnw %~.m:-\) 110 n 57 3d1
P£qr'mi`F/Agem (Si'gn and Pr¢'nt Name) Addre.ts __ ‘-" 1 ‘
‘., Wl‘cii?im ~`JL r‘\ D (~- QOOQ§/
Htie: " Ci‘ry/Stote/Zip Code
' L\" _ Phone No.: Q~-JOC/ 31 95
f . 5
Subscn'bcd and sworn to before me thts 1 / day of [>~:w ,1. u , 20 l §’
1 (mont?i and yZu') .
1
DM CIM notary public)

 

Atromeyfor Plai'nrt]j” (Sigi;:' and Prim Non'te)A
§
Addres.r ` . Zi`p Code
Bar No.: l ` Phone No.:

 

NOTICE (All parties must notify the court of' any address changes.)
To: `\"\_U§\(»"JU{TIC§ ,QJ\ C \(pzl"<»\n> 1

 

 

 

 

(l) ('Z)
Defendam Defendam
r_.¢-r‘:
101€, 1`5'°*‘5 i`dbd loc»€):>
Address ` Zt‘p Code Addrt:s.s . Zt'p Code
{:1 Home i_ Business m Hame [:] Bu.n'm;'ss

_¥ou are hereby notified that C'v/'iiq~r€..w Li:lb\""“:)_
' has made a claim and is requestingjudgment

against you in the sum of :‘ _CJJE-FCUA FL:U-_Q h (.&GIP i'f,CD dollars ($ 20

as hown by the foregoin§ statement The\ court will 1101 'ng upon this claim on g g g f QL_¢/S)/

at 9:00 a.m. in the Smali Ciaims and Conciliati v Couttroom 119. Bldg. B, 510 4th Strect. N.W..

 

 

 

   

L u _.
. Depury Cl'erk
cuomo-twain zuu` 5 Smcn'l Ci'at'ms and Concr'i'r`r:rtr`an Hranch

 

 

Case 1:15-cV-01393-RDI\/| Document 1-1 Filed 08/27/15 Page 5 of 7

r_J' ’

INSTRUCTIONS TO DEFENDA NT(S)

IMPORTANT: IF YOl;I FAIL TO APPEAR AT THE 'I`IME STATED OR AT ANY O'I`HER TIME THE COUR'I`
NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAUL'I` MAY BE ENTERED AGAINST YOU FOR THE
MONEY, DAMAGES OR OTHER RELIEF DEMANDED lN THE STATEMENT OF CLAIM IF THIS OCCURS.
YOUR WAGES OR BANK ACCOUNT MAY BE A'I'I`ACHED OR WITHHELD OR AN¥ PERSONAL PROPERTY
OWNED BY YOU MAY BE TAKEN AND SOLD TO PAY Tl-IE JUDGMENT. DO NOT FA[L TO APPEAR A'I`
'I`HE REQUIRED TlME.
` l

Before any case goes to trial in the Small Claims and Conciliation Branch, a trained mediator will meet with all
parties to see if a settlement can be worked out. if all parties are present when your case is called, you and the plaintiff
will be able to see a mediator and hopefully settle your dispute without having to go to trial.

You may come with or without a lawyer. The Statement of Claim indicates whether the plaintiff has a lawyer. If
the plaintiff does have a lawyer and you wish to dispute the claim, it would be in your interest to have your own iawyer.

If you wish to have legal advice land feel that you cannot afford to pay a fee to a lawyer. you may contact the
Neighborhood chal Seryices Program at (202) 269-5100. the D.C. Law Students in Court Pt'ogram at (202) <338-47.98,
Legal Counsel for the Elderly at (202) 434~2170 or the Legai Aid Society at (202} 628- l 161. lt` you need further help. come
to Btlilding B, 510 4th Stl"eet, N.W., Rootn 120. for more information concerning places where you may ask for such help_
You may also consult thai-legal aid directory on www.lawhelp.org/dc. Act promptly

If it is impossible for you to appear on the date of trial attempt to contact the P|aintiff to arrange a new date If
parties agree on a date notify the clerk of the Small Cla`tms Branch of this court in person or by phone of the new date. If
parties cannot agree, you may contact the clerk who will inform you regarding procedures if you do not appear on the
new date, a judgment may be entered against you.

Whenever correr§ponding with the Srnall Claims clerk‘s office by mail, please include your case number and your
date to appear in court. z

You are given the following additional instructions in the event that you intend to appear without a lawyer.
It` you have witnesses, books. receipts, or other writings bearing on this claim, you shoqu bring them with you at
the time of the heating I_

lf you wish to have witnesses summoned, see the clerk at once for assistance

lf you admit the claim but desire additional time to pay, you must come to the hearing tn person and state the
circumstances to the Coitrt.

PUEDE OBTENERSE§ COPIAS DE`. ESTE FORMULARTO EN ESPANOL E.N EL TRIBUNAL SUPERIOR DEL
DISTRITO DE COLUMBlA BUILDING B 510 4'I`H STREET N. W. SALA 120.

\’OU MAY OB'I`AIN Af COPY OF 'I`HIS FORM IN SPANISH A'I` 'I`HE SUPER!OR COURT OF D.C., BUILDING B,
510 4TH S'I`REE'I` N.W§, ROOM l?.O.

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Case 1:1§'>-cV-01393-RDI\/| Document 1-1 Filed 08/27/15 Page 6 of 7

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Mede.ar Health

Profession{él Support Services
8020 Corpbrate Drive
Bait|more,§Marviand 21236

July 30, 2035

ll
\

Andrew \'¢ung
18111rvin`_g§t NE
Washingt?n, DC 20018

Andrew.ygung$ l@ya hoo.com

Re: Accoémt NO. 36933925, 31346057
Dafe Of Sel’VICe: 05/01/2013, 12/15/2011
Fack!ify: N|ec|$tar Washington Hospitai Center

Dear’ Mr. ‘__'(oung,

This iette¢:'- ls to verify the accounts listed above are now reflecting a $0.00 balance.
- 3§933926 was paid off on 01/29/2015 `
¢ 31;`346067 was paid off on 10/10/2013

Shou\d yo;u have any further questions, please do not hesitate to contact our Customer
Servlce of;fice at 410-933-2424.

Slncerely.;,

Mrs. 1. Re,'vnolds
Customers Servlce Team Leader

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1

 

Case 1: 1b- -C\/- -01393- RDI\/| Document 1- 1 Filed 08/27/15 Pa e 7 of 7
SUPERIOR COURT OF THE DISTRICT OF C()LU BIA

  

 

 

 

 

CIVIL DIVISION
i-!`ISMALL CLAIMS AND CONCILIATION BRANCH
`““ INFORMATION SHEET d:&
OL(\CQ{~){,J jow\~") Case No: QFU/S£@QQ.\§J$§

Plaintiff` L`.
M»Zd\€r'€{i\_i" C/G'GT__M Date: 8 ' 'g_ °D‘O} 5

Det`endant

tindf`©v) umwa
Name: (please print) ') ` Reiationsbip to Lawsuit

5 l:l Attorney for Piaintiff

 

Firm Name, if applicable
` m Self (Pro Se)

 

 

Ll(£l. ">O°t 38`15*
'I`elephone No: :. . 6 Digit Unitied Bar No. [:l Other:
Do you need an interpreter for your case? § Yes No If yes, what type:

 

AMoUN'r IN coNT-`Rovl~:RsY: l:| si -$500 [Xl $500.01 - 32,500 ij s2,500.01 - ss,ooo
PENDING cAsE(s) ;RELATED TO THE AcTIoN BEING FrLEo:

Case No: § Case No:
NATURE oF sum "(Check Appmpria:e Box(s))
A. CON'I`RACTS -;ia claim based on an agreement between parties made either orally or in writing

 

 

 

 

[:l Debt Suit `1_ l l:| Breach of Warranty l:l Negotiable lnstrument
[:\ Personal Property g Loan I:l RentDue

i
ij Unpaid Wages El Services Rendered !:l Security Deposit

l___] Breach of Cdntract ij Home ImprovementContract E Oral

 

B. PROPERTY 'I`ORTS - a claim for an inju_rxor wrong committed on ttgproperty of another

 

 

 

 

 

m Automobile f___[ Conversion l___] Shop Lifting
[:l Property Darnage . g Destruction ofProperty \:| Trespass
C. PERSONAL TO}:{T ~ a claim for an injury or wrong committed on the jerson of another
{:I Assault and B;attery l:l False Witness f:l Libel and Slander
l:l Automobile § ' |:i Personal Injury [XlNegligence
___i:l Harassmcnt i g Fraudulent Misrepresentation g Sligand Fall
D. m UNIFORM AliiBlTRATION ACT - an action G. I:l SUBROGATION - a claim filed by one
based on an arbitration agreement gerson in the place of another
E. [] FOR.EIGN .iU:DGMENT- a judgment, decree or H. ij COLLECTION- a claim filed by a seller or
order filed from another jurisdiction lender to coilect a consumer debt

 

F, l:| MEDICAL MALPRAC'I`ICE -» a claim against a bcaithcare provider for professional misconduct

Have you given notice of intention to tile your lawsuit 90 days prior to tilin§? [:l Yes El No
__- ”__
CV-3046fRev. Feb. 08

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